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     THOMAS A. JOHNSON, #119203
 1
     400 Capitol Mall, Suite 1620
 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3   Attorney for Defendant Charles Davies
 4
 5                                IN THE UNITED STATES DISTRICT COURT
 6                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8                                                   )
                                                     )   Case No.: 2:10-cr-00299-EJG
 9                                                   )
     UNITED STATES OF AMERICA,                       )   STIPULATION AND ORDER TO
10                                                   )   CONTINUE STATUS CONFERENCE
                     Plaintiff,                      )
11                                                   )   Date:    June 3, 2011
            v.                                       )   Time:    10:00 a.m.
12                                                   )   Judge:   Hon. Edward J. Garcia
                                                     )
13   BERNARDO LAREDO, et al.,                        )
                                                     )
14                   Defendant                       )

15
16          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the Status

17   Conference scheduled for April 22, 2011 at 10:00 a.m. is to be continued to June 3, 2011 at

18   10:00 a.m.in the same courtroom. Daniel McConkie, Assistant United States Attorney, Thomas

19   A. Johnson, attorney for Charles Davies, Michael Hansen, attorney for Bernardo Laredo, Dina

20   Santos, attorney for Mara Dawn Stiles, David Fischer, attorney for Francisco Pulido, Danny D.

21   Brace, Jr., attorney for Brenda Deshields, William E. Bonham, attorney for Scott Peterson, and

22   Toni Carbone, attorney for Angela Boschke all agree and stipulate to a continuance. The

23   continuation is requested because Thomas Johnson, attorney for Charles Davies, is currently in a

24   three defendant homicide trial that is expected to last until May 12, 2011. In addition, the

25   continuance is requested to allow the remaining attorneys more time for preparation and review

26   of discovery.

27          The parties stipulate and agree that the interests of justice served by granting this

28   continuance outweigh the best interests of the public and the defendant in a speedy trial. 18




                                   STIPULATION AND ORDER                  -1-
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 1   U.S.C. § 3161(h)(7)(A). It is further stipulated that the period from the date of this stipulation
 2   through and including June 3, 2011, be excluded in computing the time within which trial must
 3   commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and Local
 4   Code T4 for continuity and preparation of counsel.
 5
 6   IT IS SO STIPULATED.
 7
 8   DATE: April 20, 2011                                                  /s/ Thomas A. Johnson___
                                                                           THOMAS A. JOHNSON
 9                                                                         Attorney for Defendant
                                                                           CHARLES DAVIES
10
11
     DATE: April 20, 2011                                                  /s/ Thomas A. Johnson for
12                                                                         MICHAEL HANSEN
                                                                           Attorney for Defendant
13                                                                         BERNARDO LAREDO
14
15   DATE: April 20, 2011                                                  /s/ Thomas A. Johnson for
                                                                           DINA SANTOS
16                                                                         Attorney for Defendant
                                                                           MARA DAWN STILES
17
18
     DATE: April 20, 2011                                                  /s/ Thomas A. Johnson for
19                                                                         DAVID FISCHER
                                                                           Attorney for Defendant
20                                                                         FRANCISCO PULIDO
21
22   DATE: April 20, 2011                                                  /s/ Thomas A. Johnson for
                                                                           DANNY D. BRACE, JR.
23                                                                         Attorney for Defendant
                                                                           BRENDA DESHIELDS
24
25
     DATE: April 20, 2011                                                  /s/ Thomas A. Johnson for
26                                                                         WILLIAM E. BONHAM
                                                                           Attorney for Defendant
27                                                                         SCOTT PETERSON
28




                                STIPULATION AND ORDER                     -2-
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     DATE: April 20, 2011                                  /s/ Thomas A. Johnson for_
 1                                                         TONI CARBONE
                                                           Attorney for Defendant
 2                                                         ANGELA BOSCHKE
 3
     DATE: April 20, 2011                                  BENJAMIN B. WAGNER
 4                                                         United States Attorney
 5                                              By:        /s/Thomas A. Johnson for
                                                           DANIEL MCCONKIE
 6                                                         Assistant U.S. Attorney
 7
           IT IS SO ORDERED.
 8
 9
10   Dated: April 20, 2011
11
12
                                         /s/ Edward J. Garcia
13                                       HON. EDWARD J. GARCIA
                                         U.S. District Court Judge
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                             STIPULATION AND ORDER         -3-
